              1      10. What amount of punitive damages do you award to Owen Diaz?
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              3                        $_�, 3_o
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              4          When you have reached your verdict, the juryforeperson should sign and date this form
              5   and contact the courtroom deputy, Ms. Davis.
              6
              7   DATED:    OcTober Y, '2.02 \
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             10                                                         JURY FOREPERSON
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